






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-08-00540-CV


____________________



STATE NATIONAL INSURANCE COMPANY, INC., Appellant



V.



MICHELLE MARASCO PATOCK, Appellee






On Appeal from the 1st District Court


Jasper County, Texas


Trial Cause No. 28836






MEMORANDUM OPINION


	The appellant, State National Insurance Company, Inc., notified the Court that the
appeal is moot because the trial court vacated the order at issue in this accelerated appeal. 
See Tex. R. App. P. 29.5.  No party objected to the suggestion of mootness.  Accordingly, we
dismiss the appeal.  See Tex. R. App. P.42.3(a). 

	APPEAL DISMISSED.

                                                                                                                          
                                                                __________________________________

                                                                               CHARLES KREGER

                                                                                          Justice

Opinion Delivered March 26, 2009

Before McKeithen, C.J., Gaultney and Kreger, JJ.


